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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 1:22-cv-24066-KMM


   GRACE, INC., et al.,

          Plaintiffs,

   v.

   CITY OF MIAMI,

         Defendant.
   ________________________________/

                        NOTICE OF FILING REDISTRICTING RESOLUTION

          Defendant, CITY OF MIAMI (hereinafter “Defendant”), by and through undersigned

   counsel, hereby files notice of passage of City of Miami Resolution R-24-1 (Exhibit A), amending

   the districting plan adopted by City of Miami Resolution R-23-271 (Exhibit B), by revising a

   portion of the border between Districts 1 and 3.

   Dated: January 19, 2024.                     Respectfully submitted,

                                                GRAYROBINSON, P.A.

                                                By: /s/ George T. Levesque
                                                GRAYROBINSON, P.A.
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                                                Florida Bar No. 991562
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                                                George.Levesque@gray-robinson.com
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                                                Telephone: (850) 577-9090
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                                                      1
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                                      CITY OF MIAMI
                                      VICTORIA MÉNDEZ, City Attorney
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                                      KEVIN R. JONES, Deputy City Attorney
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                                      Litigation & Appeals Division Chief
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                                      Attorneys for Defendant




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                                     CERTIFICATE OF SERVICE

          I hereby certify that on January 19, 2024, I electronically filed the foregoing with the Clerk of

   the Court by using the CM/ECF. I also certify that the foregoing document is being served this day

   on all counsel of record or pro se parties either via transmission of Notice of Electronic Filing

   generated by CM/ECF or in some other authorized manner for those counsel or parties who are not

   authorized to receive electronically Notices of Electronic Filing.


                                                 By: /s/George T. Levesque
                                                    Counsel for City of Miami




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                             Exhibit A
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                                           City of Miami                                   City Hall
                                                                                    3500 Pan American Drive
                                            Certified Copy                              Miami , FL 33133




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                                                                                      www.miamigov.com




    File Number: 15308                                                 Enactment Number: R-24-0001


             A RESOLUTION OF THE MIAMI CITY COMMISSION , WITH ATTACHMENT(S) ,
             AMENDING THE JURISDICTIONAL BOUNDARIES OF THE CITY
             COMMISSION DISTRICTS ADOPTED PURSUANT TO RESOLUTION NO. R-
             23-0271; OFFICIALLY DELINEATING THE BOUNDARIES OF EACH DISTRICT
             AS SET FORTH IN "COMPOSITE EXHIBIT 1," ATTACHED AND
             INCORPORATED; MAKING FINDINGS; AND PROVIDING AN EFFECTIVE
             DATE.

    SPONSOR(S): Commissioner Manolo Reyes

           WHEREAS, the voters of the City of Miami ("City") adopted a Charter Amendment on
    September 4, 1997, providing for a non-voting Executive Mayor elected City-wide, and five (5)
    City Commissioners elected from districts; and

             WHEREAS , the City Commission adopted Resolution No. 97-495 providing for the
    jurisdictional boundaries of the City Commission Districts; and

          WHEREAS, on May 8, 2003, the City reapportioned district boundaries in Resolution No.
    03-0448 following the results of the 2000 Census; and

           WHEREAS , on May 23, 2013, the City reapportioned district boundaries in Resolution
    No. R-13-0208 following the results of the 2010 Census; and

          WHEREAS, on March 24 , 2022 , the City Commission reapportioned the district
    boundaries in Resolution No. R-22-0131 ("2022 Map") following the results of the 2020 Census ;
    and

            WHEREAS , on December 15, 2022 , nine (9) months after the adoption of the 2022 Map,
    certain community organizations filed a federal lawsuit against the City of Miami challenging the
    new redistricting plan alleging it violated the 14th Amendment's Equal Protection Clause; and

          WHEREAS, the Federal court entered an order enjoining the City from calling ,
    conducting , supervising , or certifying any elections using the 2022 map; and

           WHEREAS, the City Commission retained the services of a professional redistricting
    consultant to provide redistricting advice to the City ; and

           WHEREAS , the results of the 2020 Census show that in 2020 , the population of the City
    had grown to 442,241 , an increase of 42,752 or 10.7 percent and that the growth has not been
    uniform across all five of the City's Commission districts; and

           WHEREAS, the 14th Amendment to the U.S. Constitution as interpreted by federal case
    law requires "substantial equality" of population among single member districts and a review of


    City of Miami                               Page 1 of3                                    R-24-0001
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    File Number: 15308                                                     Enactment Number: R-24-0001

    the Census data shows that the current plan is malapportioned and cannot be used for
    subsequent elections; and

            WHEREAS , Section 2, 52 U.S.C. § 10301 of the Voting Rights Act of 1965 (the "Voting
    Rights Act"), is a permanent nationwide prohibition on voting practices that discriminate on the
    basis of race, color, or membership in a language minority group (as defined in Sections 4(f)(2)
    and 14(c)(3) of the Act, 52 U.S.C. §§ 10303(f)(2), 10310(c)(3)) and prohibits both voting
    practices that result in citizens being denied equal access to the political process on account of
    race, color, or membership in a language minority group, and voting practices adopted or
    maintained for the purpose of discriminating on those bases; and

             WHEREAS , the Supreme Court observed in Reynolds v. Sims, 377 U.S. 533 (1964) ,
    that all that is necessary when drafting state legislative districts is achieving "substantial equality
    of population among the various districts." The phrase "substantial equality of population" has
    come to generally mean that a legislative or local government plan will not be held to violate the
    Equal Protection clause if the overall deviation between the smallest and largest district is less
    than 10%. In Avery v. Midland County, 390 U.S. 474 (1968) , the United States Supreme Court
    applied the Reynolds decision to local governments; and

           WHEREAS , the City's redistricting consultant met individually with the five district City
    Commissioners for the purpose of getting input from them to develop a new map that addressed
    the concerns of the federal court and also achieved compliance with the Voting Rights Act and
    the Equal Protection Clause; and

          WHEREAS , as a result of the meetings, the redistricting consultant developed a
    proposed map that took into consideration the policy and political suggestions of the City
    Commissioners, resident input and the Court's order and named the map Version 12; and

            WHEREAS , the City's redistricting consultant analyzed the polarized voting patterns in
    the City and determined that the Version 12 map was consistent with the three factors
    enunciated in the case of Thornburg v. Gingles, 478 U.S. 30 (1986) ; and

           WHEREAS , on June 14, 2023 , at a Special City Commission meeting , the redistricting
    consultant presented the Version 12 map to the City Commission and the public; and

            WHEREAS , after hearing from the public, the City Commission considered the Version
    12 map and made some modifications which among other changes included reuniting a portion
    of Coconut Grove into District 2, made changes between the boundaries of 03 And 04 to
    restore the Domino park area to 03, moved an area from District 1 into District 5 that contained
    a restaurant that the District 5 Commissioner had committed significant effort and funding to
    ensure its success and made other changes necessary to rebalance the population and reduce
    the Map's overall deviation ; and

           WHEREAS , the amendments to the Version 12 map were named the District 3 Version 3
    Map ("03 V3 Map"); and

            WHEREAS , the City Commission determined that the 03 V3 Map achieved substantial
    equality of population among the districts; and

           WHEREAS , the City Commission determined that the 03 V3 Map was legally sound and
    meets the City Commission's prime directive that the redistricting plan should abide by the
    Constitution and the Voting Rights Act; and



    City of Miami                                  Page 2 of 3                                     R-24-0001
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    File Number: 15308                                                          Enactment Number: R-24-0001

            WHEREAS , the City Commission wishes to further amend the D3 V3 Map, adopted
    pursuant to Resolution No. R-23-0271 , adopted on June 14, 2023, as set forth in "Composite
    Exhibit 1," attached and incorporated , thereby including the original District 1 boundaries along
    the southern portion of the river; and

           WHEREAS , the proposed revised Map, as set forth in "Composite Exhibit 1," attached
    and incorporated , meets the City Commission's prime directive that the redistricting plan should
    abide by the Constitution and the Voting Rights Act;

           NOW, THEREFORE , BE IT RESOLVED BY THE COMMISSION OF THE CITY OF
    MIAMI , FLORIDA:

            Section 1. The recitals and findings contained in the Preamble to this Resolution are
    adopted by reference and incorporated as fully set forth in this Section and represent findings of
    the City Commission .

            Section 2. The City Commission hereby amends the jurisdictional boundaries of the City
    Commission Districts adopted pursuant to Resolution No. R-23-0271 ; officially delineating the
    boundaries of each District as set forth in "Composite Exhibit 1," attached and incorporated ;
    making findings ; and providing an effective date. These election districts shall be applicable for
    all purposes , including but not limited to , any election of City Commissioners, following the
    effective date of this Resolution ; making findings ; and providing an effective date.

           Section 3. This Resolution shall become effective immediately upon adoption and
    signature by the Mayor. 1


        DATE:       1/11/2024
        RESULT:     ADOPTED WITH MODIFICATION(S)
        MOVER:      Manolo Reyes, Commissioner
        SECONDER:   Damian Pardo, Commissioner
        AYES:       Christine King , Damian Pardo, Manolo Reyes
        NAYS:       Joe Carollo
        ABSTAIN:    Miguel Angel Gabela

        DATE:        1/11/2024
        ACTION:      Signed by the Mayor


    I, Todd B. Hannon , City Clerk of the City of Miami, Florida , and keeper of the records
    thereof, do hereby certify that this constitutes a true and correct copy of Resolution No. R-
    24-0001 , with attachment(s) , passed by the City Commission on 1/11/2024.



                                                                                January 11, 2024
                                                                                 Date Certified




    1
      If the Mayor does not sign this Resolution , it shall become effective at the end of ten (10) calendar days
    from the date it was passed and adopted. If the Mayor vetoes this Resolution, it shall become effective
    immediately upon override of the veto by the City Commission .

    City of Miami                                     Page 3 of 3                                        R-24-0001
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                                                   City of Miami                                           City Hall
                                                                                                    3500 Pan American Drive




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                                                                                                        Miami, FL 331 33
                                                    Master Report                                     www.miamigov.com

                                            Enactment Number: R-24-0001

    File Number: 15308                       File Type: Resolution                          Status: ADOPTED WITH
                                                                                                  MODIFICATION(S)

    Revision: A                                                                    Controlling Body: City Commission

    File Name: Redistrict District 1 - Original Boundaries                                   Introduced:    12/26/2023

    Requesting Dept: Commissioners and Mayor                                             Final Action Date: 1/11/2024


           Title:       A RESOLUTION OF THE MIAMI CITY COMMISSION , WITH ATTACHMENT(S) ,
                        AMENDING THE JURISDICTIONAL BOUNDARIES OF THE CITY COMMISSION
                        DISTRICTS ADOPTED PURSUANT TO RESOLUTION NO. R-23-0271 ; OFFICIALLY
                        DELINEATI NG THE BOUNDARIES OF EACH DISTRICT AS SET FORTH IN
                        "COMPOSITE EXH IBIT 1," ATTACHED AND INCORPORATED; MAKING FINDINGS;
                        AND PROVIDING AN EFFECTIVE DATE.

    Sponsor(s):         Commissioner Manolo Reyes

    Notes:

    Links:

    Attachments:        15308 Composite Exhibit 1 (PDF)

    History of Legislative File:

    Revision :      Acting Body:                 Date:                  Action :                           Result:

                    Donovan Dawson               12/27/2023             Budget Analyst Review              Completed
                    Marie Gouin                  12/27/2023             Budget Review                      Completed
                    Leg islative Division        1/2/2024               Legislative Division Review        Completed
                    City Commission              1/ 11 /2024            Meeting                            Completed
                    City Commission              1/ 11 /2024            ADOPTED WITH                       Passed
                                                                        MODIFICATION(S)
    A               George K. Wysong Ill         1/11/2024              Deputy Attorney Review             Completed
    A               Victoria Mendez              1/11 /2024             Approved as to Form With           Completed
                                                                        Modifications
    A               Mayor's Office               1/11/2024              Signed by the Mayor                Completed
    A               City Clerk's Office          1/ 11 /2024            Signed and Attested by the City    Completed
                                                                        Clerk
    A               City Clerk's Office          1/ 11 /2024            Rendered                           Completed




    City of Miami                                         Page 1 of 1                                      Printed on: 1/ 1112024
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                             Exhibit B
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                                                     City of Miami Commission Districts Adopted June 14, 2023




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                                                 City of Miami Commission Districts Adopted June 14, 2023
Commission
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Author: O. Lopez Date: 6/24/2023 D:\GIS\Commission_Redistricting_2023\Proposed_CommissionDistricts_BookLandscapeFinal2023.mxd
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                                                 City of Miami Commission Districts Adopted June 14, 2023
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Commission
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Commission
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                                                City of Miami Commission Districts Adopted June 14, 2023
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